                   IN THE UNITED STATES DISTRICT COURT

                        DISTRICT OF SOUTH CAROLINA

                               BEAUFORT DIVISION


 Selena Nelson                                  ) CIVIL ACTION NO.:9:18-CV-
                                                ) 2962-DCN-MHC
                      Plaintiff,                )
                                                )
    -vs-                                        )
                                                ) MEMORANDUM IN SUPPORT
 Beaufort County Sheriff’s Office,              )     OF MOTION SUMMARY
 Lieutenant Brian Baird, and Sheriff P.J.       )         JUDGEMENT
 Tanner, individually and in their official     )
 capacity,                                      )
                                                )
                      Defendants.               )



       Defendants hereby submit this memorandum of law in support of their

motion for partial judgment on the pleadings.

                                   BACKGROUND

       The present action arises from an incident which occurred on or around July

31, 2017 when Plaintiff was the subject of a citizen complaint arising from an

alleged altercation with Tyler Weaver, a clerk at the Oreck store in Bluffton, SC.

(Plaintiff’s Comp., ¶ 28). According to the complaint, Plaintiff, a former deputy for

the Beaufort County Sheriff’s Office, went into the store expecting to exchange a

defective unit or receive a refund. (Plaintiff’s Comp., ¶ 31). Weaver alleged in his

citizens complaint that during that time, Plaintiff bullied him while demanding the

cash refund and acted “thug-like.” (Plaintiff’s Comp., ¶ 28).

       As a result of Weaver’s complaint, Plaintiff was interviewed by Lt. Baird

regarding the facts of the incident as part of an internal investigation. Plaintiff’s
Comp., ¶ 30).    Baird interviewed the Owner of the Oreck store, Bradley Blake,

Weaver, and Lindsey, another employee that had been involved via telephone in

the interactions between Weaver and Nelson. (Internal Affairs Report of Baird)

Weaver described conduct that was unprofessional and intimidating, including

cursing and yelling by a fully armed and uniformed Nelson.         Nelson denied the

unprofessional behavior and on August 9, 2017, Because of the discrepancies in

the versions of the events of that day, Nelson was ordered to take a polygraph

exam, which was to be administered by Matthew Averil, but Lt. Baird directed the

questions. Nelson was warned on several occasions by Baird to be certain and

truthful in her statements because it is the policy of Sheriff Tanner that if deception

indicated is the outcome on a polygraph, the officer will be terminated. (Deposition

of Baird , P. 172-173 L. 23-25 and 1-2, and P. 90 L. 17-20)

       Nelson was required to write out a statement of the events that occurred at

the Oreck store. She was then asked if she lied in the statement she wrote. (Depo

Testimony of Baird P. 105 L. 18; IA investigation of Baird, number 15) Averill and

Baird both scored the exam. Based on the scoring of the polygraph exam by both

Averil and Baird, deception was detected by both scorers. Following the polygraph

examination, Baird interviewed Nelson again and she admitted to raising her voice,

however, said she never raised it to the highest possible level and she eventually

admitted to using the word ass in a non-derogatory manner while talking with

Lindsey on the telephone in the store. (Depo of Baird p. 122, line 21-23 )Attached

to the report was the original citizens complaint, emails between Baird and




                                          2
witnesses, statements, audio and/or video recordings of the interviews and

polygraph exam, and relevant BCSO standing orders.

      Baird submitted the Internal Affairs report and all attachments to the Chief

Deputy and Sheriff P.J. Tanner. No recommendation was made in that report.

The report contained summaries of the interviews, steps taken in the investigation

and the results of the polygraph and subsequent interview with Nelson.         The

Report also contains a conclusion that Nelson acted in an unprofessional manner

while wearing her uniform in the Oreck store on July 31, 2017, and that she

subsequently lied about her actions, and only after her polygraph did she admit

that she raised her voice and used the word ass in the store. (Internal Affairs

Report).

      The Report was provided to the Chief Deputy who then provided it to the

Sheriff. The Sheriff requested a Command Staff review where members of the

command staff in Nelson’s chain of command are given a copy of the Internal

Affairs Report and make recommendations to regarding disciplinary action. The

Command Staff in Nelson’s review unanimously agreed she should be terminated.

(Disciplinary Action Form)   A meeting with Nelson, members of Command Staff

and the Sheriff was held on August 10, 2017.          The Plaintiff was given an

opportunity to read the internal affairs report and make any comments. She was

then provided with the Disciplinary Action Form indicating she was to be terminated

and she was again provided the opportunity to make a comment which she chose

not to do and refused to sign the form. (Disciplinary Action Form)




                                        3
       Thereafter, as required by state law, Nelson’s termination was reported on

a Personnel Change in Status (PCS) Report to the Criminal Justice Academy

denoting “misconduct” as the reason for termination, which resulted in suspension

of Plaintiff’s state law enforcement certificate. (Plaintiff’s Comp., ¶¶ 38, 43). Plaintiff

sought to have her certificate reinstated before a hearing officer for the South

Carolina Law Enforcement Training Division in December 2017 who found that it

was “unclear whether Ms. Nelson was dishonest” and misconduct was not proven

by substantial evidence which is the relevant standard. As a result the Training

Council found on March 25 2020 that Nelson did not engage in misconduct and

reinstated her certificate, but did place her on two years probation and ordered

attendance in ethics classes for those two years. (Law Enforcement Training

Council Final Agency Decision)

       Plaintiff alleges that, sometime between the December hearing and January

3, 2018, Defendants leaked to the Island Packet the existence of Plaintiff’s internal

affairs investigation and a video recording of her polygraph exam. (Plaintiff’s

Comp., ¶ 55). On January 3, 2018, the Gina Smith a reporter with the Island Packet

submitted a Freedom of Information Act request to the Sheriff for a complete copy

of the personnel file of Nelson and entire internal affairs investigation that resulted

in her termination including any videos. (Freedom of Information Act Request)

The Sheriff’s Office responded to the FOIA request pursuant to the mandate of

state law. The Island Packet subsequently published a story that Plaintiff alleges

damaged her reputation. (Plaintiff’s Comp., ¶¶ 56-58).




                                            4
        Plaintiff filed the present action on November 2, 2018, alleging causes of

action under Title VII, 42 U.S.C. sections 1981 and 1983, and a state law

Defamation claim. These claims are not supported by evidence sufficient for a

question of fact to be put to a jury.

                                  LEGAL STANDARD

                                        ARGUMENT

        The Court should grant the Defendants Motion for Summary Judgment

because Plaintiff has failed to produce evidence sufficient to present a jury with a

genuine issue of material fact.

   I.      Claim for Title VII Discrimination and Retaliation and Race

           Discrimination Claim under 42 U.S.C. § 1981

           The Plaintiff has asserted claims of discriminatory conduct against the

Beaufort County Sheriff’s Office on the basis of race and sexual orientation. The

Plaintiff additionally alleges that she was subjected to a hostile work environment

and was terminated her because of her race and sexual orientation. However, the

Plaintiff can point to no evidence of such discriminatory conduct or harassment.

Furthermore, the Sheriff had a legitimate non-discriminatory basis for termination

of the Plaintiff, in that she was deemed to have been deceptive during the course

of an internal affairs investigation.

        Both 42 USC §1981 and Title VII prohibits an employer from taking adverse

employment action against an employee “because of such individual's race.” 42

U.S.C. § 2000e-2(a)(1). A plaintiff may establish a Title VII violation in two ways.

First, a plaintiff can show through direct evidence that racial discrimination

                                           5
motivated an employer's adverse employment action. See, e.g., Diamond v.

Colonial Life & Accident Ins. Co., 416 F.3d 310, 318 (4th Cir. 2005). If a plaintiff

lacks direct evidence (as in this case), a plaintiff can alternatively proceed under

the burden-shifting framework in McDonnell Douglas Corp. v. Green, 411 U.S. 792,

802–03, 93 S.Ct. 1817, 36 L.Ed.2d 668 (1973). See Hill v. Lockheed Martin

Logistics Mgmt., Inc., 354 F.3d 277, 284–85 (4th Cir. 2004) (en banc), abrogated

in part on other grounds by Univ. of Tex. Sw. Med. Ctr. v. Nassar, 570 U.S. 338,

133 S.Ct. 2517, 186 L.Ed.2d 503 (2013).

       The McDonnell Douglas framework is comprised of three steps: (1) the

plaintiff must first establish a prima facie case of employment discrimination or

retaliation; (2) the burden of production then shifts to the employer to articulate a

non-discriminatory or non-retaliatory reason for the adverse action; (3) the burden

then shifts back to the plaintiff to prove by a preponderance of the evidence that

the stated reason for the adverse employment action is a pretext and that the true

reason is discriminatory or retaliatory.” Guessous v. Fairview Prop. Investments,

LLC, 828 F.3d 208, 216 (4th Cir. 2016). The McDonnell Douglas framework applies

to failure to hire, termination, and retaliation claims under Title VII and section

1981. See, e.g., Williams v. Giant Food Inc., 370 F.3d 423, 430 (4th Cir. 2004);

Beall v. Abbott Labs., 130 F.3d 614, 619 (4th Cir. 1997), abrogated in part on other

grounds by Gilliam v. S.C. Dep't of Juvenile Justice, 474 F.3d 134 (4th Cir. 2007).

If the plaintiff establishes a prima facie case, the burden shifts to the defendant to

produce evidence that the adverse employment action was “for a legitimate,

nondiscriminatory reason.” Tex. Dep't of Cmty. Affairs v. Burdine, 450 U.S. 248,

                                          6
254, 101 S.Ct. 1089, 67 L.Ed.2d 207 (1981). This burden is one of production, not

persuasion. See St. Mary's Honor Ctr. v. Hicks, 509 U.S. 502, 509–11, 113 S.Ct.

2742, 125 L.Ed.2d 407 (1993). If the defendant offers admissible evidence

sufficient to meet its burden of production, “the burden shifts back to the plaintiff to

prove by a preponderance of the evidence that the employer's stated reasons were

not its true reasons, but were a pretext for discrimination.” Hill, 354 F.3d at 285

(quotation omitted); see, e.g., Reeves v. Sanderson Plumbing Prods., Inc., 530

U.S. 133, 143, 120 S.Ct. 2097, 147 L.Ed.2d 105 (2000); King v. Rumsfeld, 328

F.3d 145, 150–54 (4th Cir. 2003). A plaintiff can do so by showing that the

employer's “explanation is unworthy of credence or by offering other forms of

circumstantial evidence sufficiently probative of [illegal] discrimination.” Mereish v.

Walker, 359 F.3d 330, 336 (4th Cir. 2004) (quotation omitted); see Reeves, 530

U.S. at 147, 120 S.Ct. 2097.

       In analyzing the record concerning pretext, the court does not sit to decide

whether the employer in fact discriminated against the plaintiff on an illegal basis.

See, e.g., Holland v. Washington Homes, Inc., 487 F.3d 208, 217 (4th Cir. 2007);

Hawkins v. PepsiCo, Inc., 203 F.3d 274, 279–80 (4th Cir. 2000). Rather, the court

focuses on whether the plaintiff has raised a genuine issue of material fact as to

pretext under Reeves and its Fourth Circuit progeny. Under Reeves and its Fourth

Circuit progeny, a plaintiff may not “simply show the articulated reason is false; he

must also show that the employer discriminated against him on the basis of [race].”

Laber v. Harvey, 438 F.3d 404, 430–31 (4th Cir. 2006) (en banc). In certain cases,




                                           7
however, the factfinder may infer illegal discrimination from the articulated reason's

falsity. See id. at 431; Rowe v. Marley Co., 233 F.3d 825, 830 (4th Cir. 2000).

       The evidence in this case is clear that a complaint was made based on the

conduct of the Plaintiff while in uniform returning an item to the local Oreck store.

The Sheriff requested Baird perform an internal affairs investigation into the

complaint. The complaining store owner was interviewed, as was the employee

that was allegedly the subject of the abusive conduct by the Plaintiff. The Plaintiff

was then interviewed whereby she specifically denied the allegations of the

complaining parties. This interview lasted over two hours and she was warned

approximately many times to be truthful or her job would be in jeopardy. The

Plaintiff insisted she did not raise her voice and did not use profanity. It was then

determined that because of the conflicting versions of events, a polygraph would

be given to the Plaintiff. The Plaintiff was required to write a written statement

about the alleged events in the Oreck Store and was asked if her statement was

truthful. Deception was indicated on the polygraph exam that was performed by

Matt Averill of the Sheriff’s Department. She was then confronted that deception

was indicated on the exam and admitted that she may have used the word ass

though not directed at the complainant and did raise her voice, but not to her fullest

extent.   She was terminated for insubordination for lying on the polygraph

examination, consistent with the Sheriff’s zero tolerance policy for lying. The Sheriff

testified that without exception if it is determined that his employee lies at any time,

for any reason, their career is over as far as his office is concerned. (Depo. Of

Sheriff Tanner p. 223 l. 10-12, 15-20) Furthermore, Baird testified that it is the

                                           8
policy of the Sheriff’s office that if you lie in an investigation you lose your

certification as a law enforcement officer. (Depo of Baird p. 172, lines 5-7)

         While the Plaintiff has alleged that white male officers have been given less

severe punishment than termination for more serious infractions than her behavior

at the Oreck store, she fails to recognize that her terminating infraction and the

seriousness of her infraction for insubordination and lying and the zero tolerance

policy of the Sheriff for lying. The Plaintiff can point to no employee at the Sheriff’s

office who has been determined to have lied during an investigation that was not

terminated as the result of that lie.       Furthermore, the Plaintiff can point to no

evidence that this “zero-tolerance policy for lying” was applied in a discriminatory

manner on the basis or sexual orientation or race.

         While the Plaintiff complains that her initial infraction of unprofessional

conduct was treated more harshly than white males with more serious infractions,

the Plaintiff fails to recognize that her ultimate infraction of lying was a very serious

one that resulted in immediate termination and she cannot show that in that regard

she has been treated differently from any other employee of the Sheriff.



   II.       Claim for Title VII Hostile Work Environment and Harassment

         Likewise the Plaintiff alleges a violation of Title VII in that she was forced to

   endure a harassment and a Hostile Work Environment of the basis of her race

   and sexual orientation. The Plaintiff has failed to provide any evidence of

   either.




                                             9
   Title VII of the Civil Rights Act of 1964 makes it “an unlawful employment

practice for an employer ... to discriminate against any individual with respect

to his compensation, terms, conditions, or privileges of employment, because

of such individual's race, color, religion, sex, or national origin.” 42 U.S.C. §

2000e–2(a)(1). As made clear in Meritor Savings Bank, FSB v. Vinson, 477

U.S. 57, 106 S.Ct. 2399, 91 L.Ed.2d 49 (1986), this language “is not limited to

‘economic’ or ‘tangible’ discrimination. The phrase ‘terms, conditions, or

privileges of employment’ evinces a congressional intent ‘to strike at the entire

spectrum of disparate treatment of men and women’ in employment,” which

includes   requiring   people    to work in    a   discriminatorily   hostile   or

abusive environment. Id., at 64, 106 S.Ct., at 2404, quoting Los Angeles Dept.

of Water and Power v. Manhart, 435 U.S. 702, 707, n. 13, 98 S.Ct. 1370, 1374,

55 L.Ed.2d 657 (1978) (some internal quotation marks omitted). When the

workplace is permeated with “discriminatory intimidation, ridicule, and

insult,” 477 U.S., at 65, 106 S.Ct., at 2405, that is “sufficiently severe or

pervasive to alter the conditions of the victim's employment and create an

abusive working environment,” id., at 67, 106 S.Ct., at 2405 (internal brackets

and quotation marks omitted), Title VII is violated.

   This standard takes a middle path between making actionable any conduct

that is merely offensive and requiring the conduct to cause a tangible

psychological injury. As pointed out in Meritor, “mere utterance of an ... epithet

which engenders offensive feelings in a employee,” ibid. (internal quotation

marks omitted) does not sufficiently affect the conditions of employment to

                                     10
   implicate Title VII. Conduct that is not severe or pervasive enough to create an

   objectively hostile      or   abusive work environment—an environment that       a

   reasonable person would find hostile or abusive—is beyond Title VII's purview.

          The Plaintiff in this matter is unable to point to any conduct that would be

   considered hostile or abusive or harrassing. During her deposition, she could

   point to no real instances of an objectively hostile or abusive work environment

   and indicated that she had on occasion been called a lesbian, gay or a stud.

   (Depo p. 29 lines 3-8) When asked how she was singled out on the basis of

   race, she indicated that she would be sent on assignment to predominately

   Black neighborhoods. (Depo of Nelson p. 31, line 23-25, p. 32,, line 1-8) All

   the evidence in this matter is that the Plaintiff was given routine raises and

   promotions and was never demoted or treated in any fashion that would be

   considered harassing based on her race or sexual orientation.

          Based on the foregoing, it is respectfully submitted that the Plaintiff has

   failed to produce evidence sufficient to support a claim for Title VII Hostile Work

   Environment and Harassment.



   III.      Claims under 42 U.S.C. § 1983 Violation of Due Proces



   The Plaintiff asserts against Defendant Baird and Tanner a claim for a violation

for due process for terminating her without a right to be heard or a right to contest

the allegations against her. The Plaintiff suggests that Defendants violated his

rights under the Due Process Clause by terminating her employment as deputy

                                           11
without providing her the opportunity to file a grievance or have a hearing in relation

to said termination. However, the Constitution does not mandate that employers

provide at-will employees, such as deputy sheriffs, with grievance rights. Indeed,

a public employee cannot invoke the procedural protections of the Due Process

Clause unless she can demonstrate that she has been deprived of a liberty or

property interest protected by the clause. Bd. of Regents of State Colleges v. Roth,

408 U.S. 564, 569–70 (1972). As an at-will employee, Plaintiff’s “subjective

expectancy of continued employment” does not constitute a liberty or property

interest protected by the Due Process Clause. Bane v. City of Columbia, 480 F.

Supp. 34, 37 (D.S.C. 1979) (internal citations omitted); see also Jenkins v.

Weatherholtz, 909 F.2d 105, 107 (4th Cir. 1990) (explaining that “government

employee serving ‘at the will and pleasure’ of the government employer has no

legitimate expectancy of continued employment and thus has no protectible

property interest”).

   Furthermore, Baird was not her supervisor or employer and did not make the

recommendation to or the decision to terminate the Plaintiff.



IV. Claims for 42 USC §1983 Violation of Equal Protection And Due Process

       Plaintiff also asserts a claim for Violation of 42 USC §1983 for Violation of

Equal Protection and Due Process. As set forth above, the Plaintiff cannot point

to any evidence that the Plaintiff’s termination was the result of disparate treatment

or that the Plaintiff was discriminated on the basis of her race or sex, in violation

of her equal protection rights. Furthermore, to the extent that the court may find

                                          12
the polygraph examination was somehow flawed in violation of the Plaintiff’s

Constitutional rights, the Defendants are entitled to Qualified Immunity because

they actions they took in terminating the Plaintiff on the basis of a finding of

deception detected in that exam where not a knowing violation of her rights.

       As previously discussed the Plaintiff cannot show disparate treatment in her

termination, based on the fact that the Sheriff has a zero tolerance policy for

officers determined to have lied on any occasion. The Plaintiff cannot point to a

single instance of that policy not being enforced in a consistent manner regardless

of race or sex. Moreover, all employees terminated for misconduct, are reported

as such to SC Criminal Justice Academy.

       Furthermore, while Tanner was the ultimate decision maker in this matter,

the Plaintiff has no evidence that Baird did anything other than perform his

investigation and report his finding to his command. The Plaintiff cannot show that

any action on the part of Baird resulted in her rights being violated. Baird did not

determine the ultimate outcome of his investigation and did not make a

recommendation as to discipline or termination.

       Lastly, to the extent that the Court determines that the Sheriff’s investigation

into the Oreck store was faulty as it relied inappropriately upon the results of an

incomplete investigation or a flawed polygraph examination, these Defendants are

entitled to Qualified Immunity.

       The doctrine of qualified immunity protects government officials “from

liability for civil damages insofar as their conduct does not violate clearly

established statutory or constitutional rights of which a reasonable person would

                                          13
have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818, 102 S.Ct. 2727, 73 L.Ed.2d

396 (1982). Qualified immunity balances two important interests—the need to hold

public officials accountable when they exercise power irresponsibly and the need

to shield officials from harassment, distraction, and liability when they perform their

duties reasonably. The protection of qualified immunity applies regardless of

whether the government official's error is “a mistake of law, a mistake of fact, or a

mistake based on mixed questions of law and fact.” Groh v. Ramirez, 540 U.S.

551, 567, 124 S.Ct. 1284, 157 L.Ed.2d 1068 (2004) (KENNEDY, J., dissenting)

(quoting Butz v. Economou, 438 U.S. 478, 507, 98 S.Ct. 2894, 57 L.Ed.2d 895

(1978), for the proposition that qualified immunity covers “mere mistakes in

judgment, whether the mistake is one of fact or one of law”).

       Both Defendants believed that the Plaintiff had knowingly lied during the

course of the investigation and the Sheriff applied the office’s zero tolerance policy

in that respect. If the court should find that this was a mistake of fact, it would still

not be a knowing violation for the Plaintiff’s constitutional rights.



v.     State Defamation Claim

       Plaintiff has failed to state a claim for which relief may be granted because

she has failed to present evidence of a state law defamation claim against Baird

and Tanner

       Defamation claims require the proof of four essential elements: (1) a false

and defamatory statement made; (2) the unprivileged statement was published to

a third party; (3) the publisher is at fault; and (4) either the statement is actionable

                                           14
irrespective of harm or publication of the statement caused special harm. Fleming

v. Rose, 350 S.C. 488, 494, 567 S.E.2d 857, 860 (2002). However, where the

plaintiff is considered a “public official,” the “fault” plaintiff must prove is that the

statement was made with “actual malice.” Id. In the present case, Plaintiff is

considered a public official for purposes of a state defamation action because she

was a police officer at all times relevant to the action. See McClain v. Arnold, 275

S.C. 282, 284, 270 S.E.2d 124, 125 (1980) (holding police officer was “public

official” for purposes of defamation action brought in connection with report of

supposed false arrest.); see also Plaintiff’s Comp., ¶¶ 2, 22, 23. Therefore, Plaintiff

is required to prove “actual malice” in connection with the alleged defamatory

statement.

       Plaintiff alleges in her Complaint that these Defendants published or caused

to be published numerous statements concerning the Plaintiff and her employment

and the circumstances of her termination, including the PCS form, the IA report,

the polygraph exam report and other “various articles” in the Island Packet, a local

newspaper.

        First, these items were all created as part of the Sheriff’s Departments

internal operations and were not created for public use. The Sheriff’s Office is

mandated to produce the PCS form under state law to the SC Criminal Justice

Academy setting forth the basis for a separation of employment between a certified

law enforcement officer and an agency. S.C. Code Ann Regs §37-022.               This is

an action mandated under state law by the Sheriff action in the scope of his duties




                                           15
as a law enforcement officer. Plaintiff’s allegation as it relates to defamation for

publishing the PCS form is statutorily barred by S.C. Code § 23-23-90.

       That section provides:

        An oral or written report, document, statement, or other communication that
is written, made, or delivered concerning the requirements or administration of this
chapter or regulations promulgated pursuant to it must not be the subject or basis
for an action at law or in equity in any court of the State if the communication is
between:
              (1) law enforcement agencies, their agents, employees, or
              representatives; or
              (2) law enforcement agencies, their agents, employees, or
              representatives and the academy or the council.


The defamation claims are based in part on communications between Defendants

and the South Carolina Law Enforcement Training Council. Moreover, there is no

evidence that this document was sent by Baird. The only evidence is that it was

sent on behalf of the Sheriff as the head of his law enforcement agency to the

South Carolina Law Enforcement Training Council.

       Additionally, the IA Report, polygraph examination report and other items

contained in the personnel file of the Sheriff’s Department were part of the internal

personnel documents of the Sheriff’s office. There is no evidence that Tanner or

Baird made this information available to anyone outside of the proper chain of

command within the Sherriff’s Office.

       In Bell v. Bank of Abbeville, the SC supreme court held:

       In determining whether or not the communication was qualifiedly privileged,
regard must be had to the occasion and to the relationship of the parties. When
one has an interest in the subject matter of a communication, and the person (or
persons) to whom it is made has a corresponding interest, every communication
honestly made, in order to protect such common interest, is privileged by reason
of the occasion. The statement, however, must be such as the occasion warrants,

                                         16
and must be made in good faith to protect the interests of the one who makes it
and the persons to whom it is addressed.


       208 S.C. 490, 493–94, 38 S.E.2d 641, 643 (1946). Generally, whether an

occasion gives rise to a qualified privilege is a question of law for the

court. Castine, 403 S.C. at 267, 743 S.E.2d at 97. “A qualified privilege may exist

whe[n] the parties have a common business interest. The only evidence in this

case is that Baird published the contents of his Internal Affairs report to his chain

of command in the Department who addressed the issue with the Plaintiff only in

a hearing with only her chain of command present.          Thus, to the extent that

publication is asserted by the Plaintiff, these Defendants are entitled to qualified

privilege.

        The Plaintiff contends that “someone” leaked the existence of the IA

investigation to an Island Packet reporter thus publishing the information.

However, there is no evidence to support this claim. The only evidence is that this

information was requested in a Freedom of Information Act request made by a

reporter from the Island Packet. The Plaintiff alleges without proof that “someone”

told the media outlet to make the FOIA request. The Plaintiff has offered no

evidence that this “someone” is either Baird or Tanner. In fact there is no evidence,

other than her speculation, that a tip was even made to the press.

       Moreover, none of the information contained in these reports are

defamatory in nature. While the Plaintiff may not agree with the conclusions drawn

by the Sheriff, relative her honesty, the Plaintiff can point to nothing in the

documents that is not a true and accurate statement of what occurred. (Audio and

                                         17
Video of Interviews and polygraph with Nelson mailed under cover of separate

letter to the court) Importantly, the entire interview of the Plaintiff as well as her

polygraph are recorded. There is no statement made in these reports that can be

shown to be false. She made a statement relative to the complaint at the Oreck

store, a polygraph was performed, deception was indicated, and she later admitted

that her statement was not completely accurate in that she did say the word “ass”

but in a different context and that she did raise her voice but not to the fullest extent

when she had previously denied those allegations. Thus, the Plaintiff cannot show

that the information in these reports and documents was not true, and she cannot

show that they were published by Baird or Tanner, so she cannot meet the

elements of a cause of action for defamation.

                                     CONCLUSION


       Based on the foregoing, it is respectfully submitted that there is no genuine

issue of material fact for the jury in this matter and the Defendants respectfully

request this Court grant their motion for summary judgment.

                                           HOWELL, GIBSON & HUGHES, P.A.



                                           By:_s/Mary Bass Lohr______________
                                           Mary B. Lohr
                                           Post Office Box 40
                                           Beaufort, SC 29901-0040
                                           (843) 522-2400
                                           Attorney for Defendant
                                           Bar No: 7804
Beaufort, South Carolina
March 10, 2021

                                           18
